Case 6:23-cr-00165-SMH-DJA Document 17 Filed 10/10/23 Page 1 of 1 PageID #: 30




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                  LAFAYETTE DIVISION


UNITED STATES OF AMERICA                               CASE NO. 6:23-CR-00165-01

VERSUS                                                 JUDGE S. MAURICE HICKS, JR.

MONTEL JOSEPH WILRIDGE (01)                            MAGISTRATE JUDGE DAVID J. AYO

                                     MINUTES OF COURT:
                                       Detention Hearing
 Date:                10/10/2023      Presiding: Magistrate Judge David J. Ayo
 Court Opened:        1:30 PM         Courtroom Deputy:        Christina Chicola
 Court Adjourned:     3:48 PM         Court Reporter:          LCR
 Statistical Time:    02:18           Courtroom:               CR4
                                      Probation Officer:       Justin Opdenhoff

                                         APPEARANCES
 Casey Richmond (AUSA)                         For   United States of America
 Aaron Albert Adams (AFPD)                     For   Montel Joseph Wilridge (01), Defendant
 Montel Joseph Wilridge (01)                         Defendant

                                         PROCEEDINGS

Defendant Appeared With Counsel
Detention Hearing Held

Testimony received from witnesses listed on the attached witness list
Argument received from counsel

ORDER:

The Court finds that Presumption has been rebutted. However, based on the testimony and
pretrial services report, the Court finds that there is probable cause to detain the defendant. IT IS
ORDERED the defendant is hereby detained.

Defendant ordered detained and remanded to the custody of the U.S. Marshal Service pending
trial.

FILINGS:
Order of Detention Pending Trial signed (AO472)
Witness List
